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2    ALEXANDRA P. NEGIN, #250376
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
     Lexi_Negin@fd.org
5
6    Attorney for Defendant
     HENRY MARTINEZ
7
8                               IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                    ) Case No. 2:09-cr-313 GEB
11                                                )
                   Plaintiff,                     ) STIPULATION AND [PROPOSED] ORDER TO
12                                                ) VACATE ADMIT /DENY HEARING AND
             vs.                                  ) SCHEDULE STATUS HEARING
13                                                )
     HENRY MARTINEZ,                              ) Date: September 5, 2014
14                                                ) Time: 9:00 am
                   Defendant.                     ) Jude: Garland E. Burrell, Jr.
15                                                )
                                                  )
16
             IT IS HEREBY STIPULATED by and between the plaintiff United States, through its
17
     undersigned counsel, Josh Sigal, the defendant Henry Martinez, through his undersigned
18
     counsel, Assistant Federal Defender, Lexi P. Negin, and with the approval of the Probation
19
     Officer Becky Fidelman, that the admit/deny hearing scheduled for September 5, 2014, should be
20
     vacated. It is further stipulated that a status hearing on this violation be scheduled for January 9,
21
     2015.
22
23
     Dated: September 4, 2014
24                                                  HEATHER E. WILLIAMS
                                                    Federal Defender
25
26                                                  /s/ LEXI P. NEGIN
                                                    LEXI P. NEGIN
27                                                  Assistant Federal Defender
                                                    Attorney for Defendant Henry Martinez
28

                                                                                   U.S. v. Martinez, 09-313 GEB
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1    Dated: September 4, 2014                      BENJAMIN B. WAGNER
                                                   United States Attorney
2
3                                                  /s/ Lexi P. Negin for Josh Sigal
                                                   Josh Sigal
4                                                  Assistant U.S. Attorney

5                                                ORDER
6           Based on the reasons set forth in the stipulation of the parties filed on September 4, 2014,
7    and good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety.
8           IT IS HEREBY ORDERED that the admit/deny hearing currently scheduled for Friday,
9    September 5, 2014, be vacated,
10          IT IS FURTHER ORDERED, that this case be scheduled for a status hearing on January
11   9, 2015 at 9:00 a.m.
12          Dated: September 4, 2014

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